
This cause came on to be heard upon the petition of the relator for a writ of mandamus, and the demurrer of the respondent thereto, and was argued by counsel. On consideration whereof it is ordered and adjudged that said demurrer be, and the same hereby is, sustained for the reason that the petition alleges the relator was injured on March 13, 1928, as the result of a fall from a ladder; pleads that on July 23, 1930, the respondent found that the relator had been disabled for the period for which compensation had been paid, and refused to grant any further compensation; and avers that on May 16, 1932, the relator filed an application for modification of award, claiming that at the time he received the injury for which compensation had been allowed, he also received a brain injury which had not theretofore been brought to the attention of the respondent; and, therefore, this court finds that the claim for injury set forth in the application of May 16, 1932, was not filed within two years after the injury, and that such claim is barred by Section 1465-72(3, General Code.
Leave is hereby given to the relator to plead fur*583ther within thirty days, and if not filed within that time it is ordered and adjudged that the writ of mandamus prayed for be, and the same hereby is, denied.

Decree accordingly.

Weygandt, C. J., Allen, Stephenson, Jones, Matthias, Bevis and Zimmerman, JJ., concur.
